                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                          Before the Honorable Karen B. Molzen
                                                    Show Cause Hearing
Case Number:                19-CR-1820 MV                         UNITED STATES vs. DELGADO
Hearing Date:               8/31/2021                             Time In and Out:          1:31 pm – 1:42 pm
Courtroom Deputy:           K. Dapson                             Courtroom:                Hondo
Defendant:                  Christopher Deon Delgado              Defendant’s Counsel:      Joe M. Romero, Jr.
AUSA:                       Paul Schied                           Pretrial/Probation:               K. Avrit
Interpreter:                                                      Witness:
Initial Appearance
☐     Defendant received a copy of charging document
☐     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☐     Government moves to detain                                  ☐ Government does not recommend detention
☐     Set for                                                     on                                @
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
☐
Custody Status
☐     Defendant
☒     Conditions of release continued
Other
☒     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☐
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
      Court -advised about the status of the case and “Sisneros issues” ; USA advised that if they want a modification to the
☒
      conditions need to be addressed with the District Judge
